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Jose Klein, OSB No. 083845
jose@kleinmunsinger.com
Damien Munsinger, OSB No. 124022
damien@kleinmunsinger.com
KLEIN MUNSINGER LLC
1215 SE 8th Ave Ste F
Portland, OR 97214-3497
(503) 568-1078
Attorneys for Plaintiﬀ




                  UNITED STATES DISTRICT COURT

                           DISTRICT OF OREGON

                           PORTLAND DIVISION


 HUNTER HAGEN, an individual,            Case No.

                             Plaintiﬀ,   COMPLAINT

       v.                                   1. Disability Discrimination
                                               (42 U.S.C. § 12112)
 LIFESTANCE HEALTH, INC., a                 2. Disability Retaliation
 Delaware Corporation,                         (Or. Rev. Stat. § 659A.109)
                                            3. Disability Discrimination
                           Defendant.
                                               (Or. Rev. Stat. § 659A.112)

                                         PRAYER: $750,000

                                         DEMAND FOR JURY TRIAL




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                               NATURE OF THE ACTION

       1.     Plaintiﬀ Hunter Hagen (“Ms. Hagen” or “Plaintiﬀ”) was a dedicated

and hardworking remote employee of LifeStance Health, Inc. (“LifeStance” or

“Defendant”). Ms. Hagen suﬀered, and continues to suﬀer, from a gastrointestinal

disorder which required frequent use of the bathroom. Until Defendant’s

implementation of strict employee monitoring software, Ms. Hagen was able to

balance her condition and workload to LifeStance’s satisfaction. However, upon

learning the speciﬁcs of the new software, Ms. Hagan became fearful that it would

discriminate against her based on her disability. As protected by Oregon and Federal

law, Ms. Hagan disclosed her disability to LifeStance and sought a reasonable

accommodation that would provide for unrestricted use of the bathroom. In response

to Ms. Hagen’s eﬀorts, LifeStance discriminated against her, culminating in her

termination on June 5, 2023.

                               JURISDICTION AND VENUE

       2.     This Court has jurisdiction over Plaintiﬀ’s claims pursuant to 28 U.S.C.

§§ 1331-1332, and 1367.

       3.     Venue is proper within the District of Oregon, Portland Division,

pursuant to 28 U.S.C. § 1391(b) because all or substantially all of Plaintiﬀ’s claims

arose in this judicial district and division. Venue is also proper because Defendant

maintains an authorized representative for service within this judicial district and

division.



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       4.      Plaintiﬀ timely ﬁled a complaint with the Equal Opportunity

Employment Commission and the Oregon Bureau of Labor and Industries about the

misconduct described herein, and has received right-to-sue letters from both

agencies, and has ﬁled this Complaint within the respective time limits.

                                           PARTIES

       5.      Plaintiﬀ Hunter Hagen is a resident and domiciliary of Multnomah

County, Oregon.

       6.      Defendant LifeStance Health, Inc. is a foreign corporation organized

under the laws of the state of Delaware doing business as LifeStance Health in

Oregon. LifeStance is engaged in the business of behavioral healthcare. At all material

times, LifeStance has had six or more employees or their full-time equivalents and is

an “employer” within the meaning of Or. Rev. Stat. § 659A.001, 659A.106, and 42

U.S.C. § 12111.

                                FACTUAL ALLEGATIONS

       7.      At all time material herein, Ms. Hagen suﬀered from a chronic

gastrointestinal disorder (“gastrointestinal disorder” or “disorder” or “condition” or

“disability”) that required frequent visits to the bathroom. Ms. Hagen’s condition

aﬀects major life activities, including but not limited to, sitting for uninterrupted

periods of time and the operation of at least one major bodily function.

       8.      On or about June 27, 2022, LifeStance hired Ms. Hagen as a full-time

Insurance Veriﬁcation Specialist, with an hourly rate of $17.00.




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         9.    LifeStance hired Ms. Hagen as a 100% remote employee. For the

duration of her employment at LifeStance, she worked out of her home in

Multnomah County, Oregon.

         10.   Ms. Hagen’s primary job duty for LifeStance included verifying that

patients had the ability to pay LifeStance through active Oregon Health Plan

insurance (“OHP”). She also reviewed emails and faxes sent to LifeStance’s west coast

operations team for insurance veriﬁcation purposes. Ms. Hagen also provided some

insurance veriﬁcation duties for LifeStance’s operations in Texas, and veriﬁed active

insurance status for certain LifeStance customers who are veterans.

         11.   During her employment by LifeStance, Ms. Hagen’s direct supervisor

was Dionne Otto (“Ms. Otto”).

         12.   In or about January 2023, Ms. Hagen performed her duties well, and

was given a raise to $19.40 per hour and additional job responsibilities.

         13.   On or around February 2023, Ms. Otto tried to increase Ms. Hagen’s

workload. Ms. Hagen pushed back, responding that she was working at capacity and

was not able to take on additional responsibilities and still perform at a sustainable

level.

         14.   Ms. Hagen routinely worked overtime hours for LifeStance prior to

Ms. Otto attempting to increase Ms. Hagen’s workload.

         15.   In early 2023, Ms. Otto began informing groups of employees,

including Ms. Hagen, that LifeStance would be implementing a new attendance

point system and employee monitoring software (“audit logs”). The new systems


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would install a more rigid attendance policy than had previously existed at

LifeStance. At this point, LifeStance had never suggested to Ms. Hagen that there

was any issue with her work performance.

       16.    Also in early 2023, Ms. Otto announced that she would meet with the

insurance veriﬁcation employees for one-on-one reviews to discuss the

implementation of the audit logs, workloads, task completion, and job performance.

       17.    Ms. Otto never scheduled a one on one meeting with Ms. Hagen. Ms.

Hagen understood this to mean that her performance was satisfactory.

       18.    In or around the beginning of February, 2023, LifeStance

implemented the audit logs. Upon information and belief, the audit logs tracked

employee screen time through the movement of their mouse. LifeStance used the

audit logs in order to surveil employees’ activities at their computers, apparently

instituting a new requirement that employees be seated at their desk, moving their

mouse, for long, uninterrupted periods of time.

       19.    Over the course of the ﬁrst few months of 2023, Ms. Otto began

emphasizing the importance of the audit log’s data, sharing that LifeStance was using

the data it produced as a metric for which to reprimand and terminate employees.

       20.    Prompted by a fear that the audit logs’ data and administration could

disadvantage her based on her disability, on or about April 6, 2023, Ms. Hagen

reported her gastrointestinal disorder to Ms. Otto.

       21.    Ms. Otto immediately initiated a meeting with Ms. Hagen, wherein

Ms. Hagen informed Ms. Otto that, due to her condition, she required frequent and


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sometimes prolonged use of the bathroom. Ms. Otto responded that Ms. Hagen was

indeed on a “watch list” due to time “gaps” in her audit logs. In response to Ms.

Hagen’s disability reporting, Ms. Otto promptly stopped the meeting to involve

LifeStance Human Resources.

       22.    Upon information and belief, Ms. Otto stopped the meeting and got

Human Resources involved because Ms. Otto likely understood that Ms. Hagen’s

disclosure potentially triggered some duty on the part of LifeStance to engage in an

interactive process regarding reasonable accommodations.

       23.    Up until this point, Ms. Hagen had never received negative feedback

about her work performance, project completion, target hitting, or dedication. To

the contrary, Ms. Hagen had received positive feedback and had been able to balance

her work and condition to perform her role satisfactorily.

       24.    In another meeting shortly thereafter (“reporting meeting”), Ms.

Hagen met with Ms. Otto and LifeStance Human Resources representative Susan

Conyers (“Ms. Conyers”). Pressured by Ms. Conyers and Ms. Otto’s peppering of

personal questions, Ms. Hagen made additional disclosures about the details of her

disability and its requirements.

       25.    In the reporting meeting, Ms. Otto expressed skepticism that Ms.

Hagen’s condition was “real,” and wondered that she was “really doing” when the

audit logs indicated she was away from her computer. Ms. Otto stated that her time

away was “not fair” to her colleagues and asked if Ms. Hagen would ever “get better”

from her condition. Ms. Hagen responded that she had suﬀered from this condition


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since she was a child and had endured many years of treatment. Ms. Hagen shared

that her condition was permanent and that her ﬂare ups were unpredictable in length

and frequency.

       26.     Also in the reporting meeting, Ms. Hagen stated that she would be

willing to send a message to her team every time she needed to step away from the

computer to use the bathroom. Ms. Otto and Ms. Conyers responded that her

suggestion was inappropriate. Instead, LifeStance instructed Ms. Hagen to just use

her ﬁnite amount of Paid Time Oﬀ (“PTO”) whenever her gastrointestinal disorder

acted up.

       27.     At the end of the reporting meeting, Ms. Otto passive-aggressively

told Ms. Hagen that she hoped she would “get better soon.” Ms. Hagen reiterated

that she had a chronic long-term condition that would not get better.

       28.     Ms. Hagen came away from the reporting meeting with the strong

impression that Ms. Otto and Ms. Conyers did not believe what she had reported

about her disabling condition and need for accommodation to use the restroom

when required. Ms. Hagen felt the women regarded her and her needs as gross and

inappropriate. These reactions coupled with the intensely private subject matter made

Ms. Hagen feel exposed, embarrassed, and humiliated.

       29.     Ms. Otto’s insincere well wishes, the suggestion that her requested

accommodation was inappropriate, and the dismissive tone of the reporting meeting,

all gave Ms. Hagen the impression that LifeStance’s only satisfactory outcome would

be for her disability to disappear.


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       30.    In addition to LifeStance’s discriminatory reaction to Ms. Hagen’s

disability reporting, Ms. Hagen’s presence on a LifeStance watch list indicated that

the audit log system had the eﬀect of discriminating against her because of her

disability and frequent need to use the bathroom.

       31.    Throughout the remainder of her employment at LifeStance, Ms.

Hagen continued to suﬀer from her condition and endeavored to engage in an

interactive process with LifeStance to no avail. Ms. Hagen also suﬀered from a

heightened sense of despair and anxiety as a result of LifeStance’s dismissive and

discriminatory treatment.

       32.    Fearing further discrimination, on or about May 5, 2023, Ms. Hagen

provided Ms. Conyers with a note from her doctor indicating that she has a

gastrointestinal disorder and needed an accommodation of unrestricted use of the

bathroom.

       33.    After submitting the note from her doctor, Ms. Hagen was not

contacted by LifeStance regarding accommodation of her disability. LifeStance never

provided Ms. Hagen with a path to rehabilitate her audit logs.

       34.    Due to mounting concern resulting from LifeStance’s lack of

interaction with her accommodation request, on or about May 8, 2023, Ms. Hagen

followed LifeStance’s procedures to submit a formal disability accommodations

request through Prudential Group Insurance (“Prudential”).

       35.    Also in or around May, 2023, LifeStance revoked Ms. Hagen’s OHP

assignment. LifeStance stated that she was being removed because she knew a


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covered patient. Ms. Hagen remembered that previous employees had simply had

familiar accounts blocked. However, LifeStance stated that blocking was impossible

and insisted on removing her from OHP.

       36.    For the remainder of her employment at LifeStance, Ms. Hagen’s

assignment was put in limbo as some of her usual access was reduced and never

restored. All of Ms. Hagen’s attempts to gain clarity on her assignment were ignored.

       37.    On or about June 4, 2023, Prudential notiﬁed Ms. Hagen that they had

received her doctor’s medical certiﬁcation submission.

       38.    On or about June 5, 2023, Ms. Hagen was summoned to a supposed

“catch-up” meeting with Ms. Otto and Ms. Conyers (“termination meeting”). As

soon as she joined the meeting, Ms. Hagen reminded the women that her doctor had

submitted materials to Prudential as part of her ongoing accommodations request. In

response, Ms. Otto and Ms. Conyers informed Ms. Hagen that she was being

terminated.

       39.    During the termination meeting, Ms. Otto and Ms. Conyers indicated

that Ms. Hagen was being let go because she did not have “proof” that she was in fact

using the bathroom while she was away from the computer as supposedly indicated

by the audit logs. Ms. Otto and Ms. Conyers then suggested that Ms. Hagen had

poor communication and was “hard to work with.”

       40.    Despite being aware of her disabling condition and request for

accommodations, on or about June 5, 2023, LifeStance sent Ms. Hagen a letter

conﬁrming her termination. LifeStance cited “misrepresentation of time worked, lack


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of communication on attendance, [and] noncompliance with coaching on

communication expectations” as the reasons for her termination.

       41.    Ms. Hagen had never before been told she had communication issues

or was “hard to work with.”

       42.    Shortly after LifeStance terminated Ms. Hagen, she received notice

from Prudential that her accommodation request had been “approved.”

       43.    On or about July 21, 2023, the Oregon Employment Department

denied Ms. Hagen’s unemployment request, ﬁnding that Ms. Hagen had been ﬁred

from LifeStance “because [she was] not logging oﬀ from work when attending to

medical needs.”

       44.    Later, during a hearing regarding Ms. Hagen’s unemployment

beneﬁts, the LifeStance representative admitted that she had no documentation

regarding the reasons for Ms. Hagen’s termination other than the audit logs.

                                 CLAIMS FOR RELIEF

                            FIRST CLAIM FOR RELIEF

                   Disability Discrimination - 42 U.S.C. § 12112
       45.    Plaintiﬀ realleges and incorporates all paragraphs above by reference as

though fully set forth herein.

       46.    LifeStance is an employer as deﬁned by 42 U.S.C § 12111(5)(A) and

therefore a covered entity, under 42 U.S.C. § 12111(2), subject to federal prohibition

of disability discrimination in employment.




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       47.      Plaintiﬀ exhausted her administrative remedies prior to bringing this

claim, by ﬁling complaints with the Oregon Bureau of Labor and Industries as well

as the Equal Opportunity Employment Commission, and receiving letters informing

her of her right to sue Defendant.

       48.      Plaintiﬀ suﬀers from a physical or mental impairment that aﬀects major

life activities, including but not limited to, sitting for uninterrupted periods of time

and the operation of at least one major bodily function

       49.      Plaintiﬀ is a qualiﬁed individual, who could perform the essential

functions of her job with or without an accommodation.

       50.      Plaintiﬀ informed Defendant about her disability and requested

accommodations.

       51.      Defendant discriminated against Plaintiﬀ on the basis of her disability,

including, but not limited to the following ways:

             ● Failing to accommodate Plaintiﬀ’s disability;

             ● Refusing to engage in a meaningful, ongoing interactive process to

                determine whether there was an accommodation that would allow

                Plaintiﬀ to perform her duties;

             ● Utilizing methods of administration and employee screening that had

                the eﬀect of discrimination on the basis of Plaintiﬀ’s disability;

             ● Suggesting that Plaintiﬀ’s disability and need for accommodation were

                feigned;

             ● Accusing Plaintiﬀ of lying about her bathroom usage;


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             ● Using the discriminatory audit log data as a basis for adversely

                impacting Plaintiﬀ’s employment;

             ● Terminating Plaintiﬀ three-and-a-half months after she requested

                accommodations and one day after receiving her second doctor’s letter;

             ● Terminating Plaintiﬀ because of her disability; and

             ● Providing pretextual reasons for Plaintiﬀ’s termination.

       52.      Plaintiﬀ’s disability was a substantial, motivating factor behind

Defendant’s adverse treatment of Plaintiﬀ.

       53.      As a direct and proximate result of Defendant’s conduct, Plaintiﬀ

suﬀered and will continue to suﬀer mental stress, emotional distress, humiliation,

inconvenience and loss of enjoyment of life fair compensation for which to be

determined at trial, but estimated to be not less than $750,000.

       54.      Defendant acted with knowledge and with malice or reckless

indiﬀerence. Plaintiﬀ requests an award of punitive damages.

       55.      Plaintiﬀ is entitled by statute to recover her reasonable attorneys’ fees,

expert fees, costs and disbursements from Defendant.

                           SECOND CLAIM FOR RELIEF

                   Disability Retaliation - Or. Rev. Stat. § 659A.109
       56.      Plaintiﬀ realleges and incorporates all paragraphs above by reference as

though fully set forth herein.

       57.      LifeStance is an employer as deﬁned by Or. Rev. Stat. § 659A.001,

subject to Oregon’s prohibition of disability rights retaliation in employment.


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       58.      Plaintiﬀ suﬀers from a physical or mental impairment that aﬀects major

life activities, including but not limited to, sitting for uninterrupted periods of time

and the operation of at least one major bodily function

       59.      Plaintiﬀ is a qualiﬁed individual, who could perform the essential

functions of her job with or without an accommodation.

       60.      Plaintiﬀ informed Defendant about her disability and requested

accommodations.

       61.      Defendant retaliated against Plaintiﬀ because she invoked procedures

related to her disability-rights.

       62.      Defendant retaliated against Plaintiﬀ in tenure, terms or conditions of

employment, including but not limited to the following ways:

             ● Ignoring and sidelining Plaintiﬀ after her disability reporting;

             ● Evaluating Plaintiﬀ’s job performance using discriminatory methods of

                administration and employee screening;

             ● Encouraging Plaintiﬀ to exhaust her PTO instead of accommodating

                her disability;

             ● Subjecting Plaintiﬀ to discriminatory treatment at the hands of

                LifeStance managers and supervisors;

             ● Reducing and never restoring Plaintiﬀ’s work access and

                responsibilities;

             ● Terminating Plaintiﬀ three-and-a-half months after she requested

                accommodations and one day after receiving her second doctor’s letter;


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             ● Terminating Plaintiﬀ because of her disability; and

             ● Providing pretextual reasons for Plaintiﬀ’s termination.

       63.      Plaintiﬀ’s disability was a substantial, motivating factor behind

Defendant’s adverse treatment of Plaintiﬀ.

       64.      As a direct and proximate result of Defendant’s conduct, Plaintiﬀ

suﬀered and will continue to suﬀer mental stress, emotional distress, humiliation,

inconvenience and loss of enjoyment of life fair compensation for which to be

determined at trial, but estimated to be not less than $750,000.

       65.      Defendant acted with knowledge and with malice or reckless

indiﬀerence. Plaintiﬀ requests an award of punitive damages.

       66.      Plaintiﬀ is entitled by statute to recover her reasonable attorneys’ fees,

expert fees, costs and disbursements from Defendant.

                            THIRD CLAIM FOR RELIEF

                Disability Discrimination - Or. Rev. Stat. § 659A.112
       67.      Plaintiﬀ realleges and incorporates all paragraphs above by reference as

though fully set forth herein.

       68.      LifeStance is an employer as deﬁned by Or. Rev. Stat. § 659A.106,

subject to Oregon’s prohibition of disability discrimination in employment.

       69.      Plaintiﬀ suﬀers from a physical or mental impairment that aﬀects major

life activities, including but not limited to, sitting for uninterrupted periods of time

and the operation of at least one major bodily function.




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       70.      Plaintiﬀ is a qualiﬁed individual, who could perform the essential

functions of her job with or without an accommodation.

       71.      Plaintiﬀ informed Defendant about her disability and requested

accommodations.

       72.      Defendant Defendant discriminated against Plaintiﬀ on the basis of her

disability, including but not limited to the following ways:

             ● Failing to accommodate Plaintiﬀ’s disability;

             ● Refusing to engage in a meaningful, ongoing interactive process to

                determine whether there was an accommodation that would allow

                Plaintiﬀ to perform her duties;

             ● Utilizing methods of administration and employee screening that had

                the eﬀect of discrimination on the basis of Plaintiﬀ’s disability;

             ● Suggesting that Plaintiﬀ’s disability and need for accommodation were

                feigned;

             ● Accusing Plaintiﬀ of lying about her bathroom usage;

             ● Using the discriminatory audit log data as a basis for adversely

                impacting Plaintiﬀ’s employment;

             ● Terminating Plaintiﬀ three-and-a-half months after she requested

                accommodations and one day after receiving her second doctor’s letter;

             ● Terminating Plaintiﬀ because of her disability; and

             ● Providing pretextual reasons for Plaintiﬀ’s termination.




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       73.    Plaintiﬀ’s disability was a substantial, motivating factor behind

Defendant’s adverse treatment of Plaintiﬀ.

       74.    As a direct and proximate result of Defendant’s conduct, Plaintiﬀ

suﬀered and will continue to suﬀer mental stress, emotional distress, humiliation,

inconvenience and loss of enjoyment of life fair compensation for which to be

determined at trial, but estimated to be not less than $750,000.

       75.    Defendant acted with knowledge and with malice or reckless

indiﬀerence. Plaintiﬀ requests an award of punitive damages.

       76.    Plaintiﬀ is entitled by statute to recover her reasonable attorneys’ fees,

expert fees, costs and disbursements from Defendant.

                                 JURY TRIAL DEMAND

       77.    Plaintiﬀ demands a jury trial on all claims and issues triable to a jury.
                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiﬀ respectfully requests that the Court:

       1.     Assume jurisdiction over each of the claims set forth herein;
       2.     Issue a declaration that Defendant has violated Plaintiﬀ’s legally
protected rights, and an order requiring Defendant to correct this deﬁciency;
       3.     Grant equitable relief including but not limited to an expungement of
all negative references or allegations of performance deﬁciencies that may be in
Plaintiﬀ’s personnel ﬁle, and reinstatement Plaintiﬀ to her former position including
any promotions she would have been eligible for but for Defendant’s unlawful
conduct;




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        4.     Order Defendant to pay Plaintiﬀ an award of compensatory damages
for emotional damages, including undue humiliation, fear, stress, embarrassment, and
a loss of enjoyment of life, in an amount to be determined by a jury;
        5.     Order Defendant to pay Plaintiﬀ an award for punitive damages for
acting with knowledge and with malice or reckless indiﬀerence;
        6.     Award Plaintiﬀ Plaintiﬀ’s costs of suit and reasonable attorney fees,
costs, and expert witness fees;
        7.     Order Defendant to provide Plaintiﬀ with additional ﬁnancial
consideration suﬃcient to oﬀset any and all tax penalties or increased tax burdens
Plaintiﬀ would have avoided but for Defendant’s unlawful treatment of Plaintiﬀ, or
arising from Plaintiﬀ’s ﬁnancial recovery from Defendant;
        8.     Order Defendant to pay prejudgment and post-judgment interest, as
appropriate, on all above amounts due to Plaintiﬀ as a result of this action;
        9.     Grant a permanent injunction enjoining Defendant, its oﬃcers,
management personnel, employees, agents, successors, and assigns, and all persons in
active concert or participation with Defendant, from engaging in any employment
practice which discriminates against employees with legally protected characteristics;
        10.    Grant a permanent injunction enjoining Defendant, its oﬃcers,
management personnel, employees, agents, successors, and assigns, and all persons in
active concert or participation with Defendant, from providing any false, malicious,
defamatory, or misleading information in response to any reference check performed
by any potential future employer of Plaintiﬀ;
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       11.    Order Defendant to create, implement, and carry out policies,
practices, and programs providing for equal employment opportunities which
aﬃrmatively eradicate the eﬀects of past and present unlawful employment practices,
on such terms as the court may direct; and
       12.    Any other relief the Court deems just and equitable.



DATED: November 25, 2024


                                             KLEIN MUNSINGER LLC

                                             By: s/ Damien Munsinger
                                                Jose Klein, OSB No. 083845
                                                jose@kleinmunsinger.com
                                                Damien Munsinger, OSB No. 124022
                                                damien@kleinmunsinger.com
                                                Attorneys for Plaintiﬀ




COMPLAINT AND DEMAND FOR JURY TRIAL                          KLEIN MUNSINGER LLC
                                                         1215 SE 8th Ave Ste F Portland OR 97214
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